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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA




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In re: Oil Spill by the Oil Rig DEEPWATER      )       MDL Docket No. 2179
HORIZON in the Gulf of Mexico on April         )
20, 2010                                       )       Section: J
                                               )
This Document Relates to: No. 10-1497,         )       Judge Barbier
No. 10-1630                                    )       Mag. Judge Shushan
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                                               )
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           FEDERAL DEFENDANTS’ MEMORANDUM IN SUPPORT OF
          MOTION FOR PROTECTIVE ORDER UNDER FED. R. CIV. P. 26(c)


                                       INTRODUCTION

       Plaintiff Gulf Restoration Network (“GRN Plaintiff”) has filed two complaints, Gulf

Restoration Network Inc. et al. v. Salazar et al., No. 1497 (“GRN I”), on May 18, 2010, and Gulf

Restoration Network Inc. et al. v. Department of the Interior et al., No. 1630 (“GRN II”), on

June 3, 2010 (collectively “GRN Cases”), invoking the Administrative Procedure Act (“APA”),

5 U.S.C. §§ 701-706, to challenge certain actions taken by the U.S. Department of Interior, the

Secretary of the Department of the Interior, the Assistant Secretary for Land and Minerals

Management, and the Director and Regional Director of the Bureau of Ocean Energy

Management, Regulation, and Enforcement (“Federal Defendants”). GRN I challenges the

validity of a 2008 Notice to Lessees, and GRN II challenges the approval of BP’s 2009 Oil Spill

Response Plan. On August 13, 2010, these cases were consolidated with the above-captioned

Multi-District Litigation proceeding (“MDL”), Dkt. #15, and Federal Defendants subsequently


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moved to sever the APA cases from the MDL because, as record review cases, they are markedly

different from the other MDL cases. Dkt. #174. At least until the Court rules upon that motion,

however, Federal Defendants in these administrative record review cases are subject to discovery

requests filed in the consolidated action, even though discovery is not authorized in APA cases

absent extraordinary circumstances that have not been demonstrated in the GRN cases.

       On October 10, 2010, plaintiffs in the MDL proceeding (“MDL Plaintiffs”) filed a

motion to amend Pretrial Order No. 1 in order to serve an omnibus discovery request on all

defendants requiring production of documents and information and to serve interrogatories, Dkt.

#509, and on October 15, 2010, this Court granted that motion. Dkt. #565. In APA cases,

however, discovery of this nature is not permitted under rules limiting judicial review to the

administrative record; no circumstances that warrant an exception to the record review rule have

been or could be shown at this stage of the litigation; and the requests contained in the omnibus

discovery request do not relate to any of the claims asserted in the GRN Cases. Accordingly

Federal Defendants move under Federal Rule of Civil Procedure 26(c) for a protective order

barring discovery in the GRN Cases and limiting review to the administrative records to be

lodged in those cases, at least until such time as a plaintiff rightfully establishes an exception to

the rule which limits judicial review to the administrative record in APA cases.

                                           ARGUMENT

       A protective order is required in response to MDL Plaintiffs’ omnibus discovery request.

Given the statutorily-limited nature of APA review and established standards restricting the use

of extra-record evidence and record supplementation, discovery is not appropriate in the GRN

Cases and a protective order should be issued.

       The decision to enter a protective order is within the district court’s discretion. Thomas



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v. Int’l Bus. Mach., 48 F.3d 478, 482 (10th Cir. 1995). Under Rule 26(c), a court may issue a

protective order upon a showing of good cause by the movant. Fed. R. Civ. P. 26(c)(1); In re

Terra Int’l, Inc., 134 F.3d 302, 306 (5th Cir. 1998). Here, good cause exists for the Court to

issue a protective order because the omnibus discovery request now pending (and future requests

that are likely to be served in the MDL proceeding) seek discovery that is prohibited by the APA,

which limits judicial review to the administrative record before the agency at the time of its

decision. Moreover, the administrative records in these APA cases have not yet been lodged and

no exception to the record review rule could possibly be established at this stage of the litigation.

In addition, the MDL Plaintiffs’ did not intend for the United States to provide responses to the

omnibus discovery request in the first place.

I.     Judicial Review Under the APA is Limited to the Federal Defendants’
       Administrative Records.

       The GRN Cases both assert claims against the Federal Defendants under the APA, which

explicitly circumscribes the scope and standard for judicial review. In considering claims

brought under the APA, a court is to “review the whole record or those parts of it cited by a

party.” 5 U.S.C. § 706; accord Medina Co. Envt’l Action Ass’n v. Surface Transp. Bd., 602 F.3d

687, 706 (5th Cir. 2010). The Supreme Court has repeatedly emphasized the strict limitations

the APA imposes on judicial review:

               We have made it abundantly clear before that when there is a
               contemporaneous explanation of the agency decision, the validity
               of that action must “stand or fall on the propriety of that finding,
               judged, of course, by the appropriate standard of review. If that
               finding is not sustainable on the administrative record made, then
               the [agency’s] decision must be vacated and the matter remanded
               to [the agency] for further consideration.” Camp v. Pitts, 411 U.S.
               138, 143 . . . (1973).

Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council, 435 U.S. 519, 549 (1978). Therefore,



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“the focal point for judicial review should be the administrative record already in existence, not

some new record made initially in the reviewing court.” Camp v. Pitts, 411 U.S. 138, 142

(1973); accord Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 743-44 (1985); Sierra Club v.

U.S. Fish and Wildlife Serv., 245 F.3d 434, 444 (5th Cir. 2001).

        Accordingly, the Fifth Circuit has explained that, in the context of a challenged agency

action, “[j]udicial review has the function of determining whether the administrative action is

consistent with the law – that and no more.” Girling Health Care, Inc. v. Shalala, 85 F.3d 211,

214-15 (5th Cir. 1996). “If the agency decision cannot be sustained on the administrative record,

then the case should be remanded to the agency for further consideration.” United Tex.

Transmission Co. v. U.S. Army Corp. of Eng’rs, 7 F3d 436, 445 (5th Cir. 1993).

        The “whole” administrative record, in turn, consists of all documents and materials

directly or indirectly considered by agency decision-makers. See Bar MK Ranches v. Yuetter,

994 F.2d 735, 739 (10th Cir. 1993); Williams v. Roche, No. Civ.A. 00-1288, 2002 WL

31819158, *3 (E.D. La. Dec. 12, 2002). The agency’s determination of what constitutes the

whole record under this standard is entitled to a presumption of regularity. See Bar MK Ranches,

994 F.2d at 740. Accordingly, the parties’ arguments and the Court’s judicial review should

properly be limited in this case to a review of the administrative records to be prepared and

submitted by the Federal Defendants.

II.     MDL Plaintiffs’ Omnibus Discovery Request Does Not Fall Within Any Exception
        to the Administrative Record Rule; In Any Event, It Would Be Premature For the
        Court to Decide Now Whether An Exception Applies.

        A party moving for the consideration of extra-record materials must show that those

materials are essential for effective judicial review and that one of the recognized exceptions to

the record-review doctrine applies. See Pacific Shores Subdivision Cal. Water Dist. v. U.S. Army



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Corps of Eng’rs, 448 F. Supp. 2d 1, 5 (D.D.C. 2006) (explaining that the supplementation of an

incomplete record consists of “adding to the volume of the administrative record with documents

the agency considered,” whereas allowing extra-record review consists of “viewing evidence

outside of or in addition to the administrative record that was not necessarily considered by the

agency.”). “Supplementation of the administrative record is not allowed unless the moving party

demonstrates ‘unusual circumstances justifying a departure’ from the general presumption that

review is limited to the record compiled by the agency.” Medina Co. Envt’l Action Ass'n v.

Surface Transp. Bd., 602 F.3d 687, 706 (5th Cir. 2010) (quoting Am. Wildlands v. Kempthorne,

530 F.3d 991, 1002 (D.C. Cir. 2008)).

       At this stage of the litigation, MDL Plaintiffs are not in a position to make any showing

because the administrative records that will provide the basis for review of GRN Plaintiff’s APA

claims are not yet before this Court. 1 The omnibus discovery request filed by MDL Plaintiffs

cannot satisfy any exception to the record rule for one straightforward reason: the administrative

records have not yet been lodged in these cases. No claim of exception can be considered by the

Court until the Court first determines whether the records provided by the Federal Defendants

are adequate. Prior to lodging those records, any determination regarding their sufficiency

would be speculative and without a basis in fact or law. See Williams, 2002 WL 31819158 at *3

(finding that, since defendant had not yet lodged the administrative record, “neither plaintiff nor

the court can tell at this time what discovery of information outside the administrative record, if

any, might be permitted”).

       Even assuming that the issue was ripe for the Court’s consideration, the court and parties

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         As previously suggested in the memorandum in support of the Motion to Sever, Dkt.
#174-1 at 13, Federal Defendants would propose that the parties submit a proposed schedule to
the court to govern any future proceedings in the GRN Cases, which would include a deadline
for lodging and producing the administrative records.

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may look outside the administrative record specified by the agency only under limited

circumstances. Id. Among the limited circumstances are 1) “when it appears that the agency

relied on substantial materials not included in the record or when the procedures used and factors

considered by the decisionmaker require further explanation for effective review,” 2) “to explore

whether the agency considered other evidence, either directly or indirectly, in reaching its

decision and to determine whether the administrative record is actually complete,” 3) “when

there is a strong showing of bad faith or improper behavior,” or 4) “when discovery provides the

only possibility for effective judicial review and when there have been no contemporaneous

administrative findings.” Id.

         Here, the MDL Plaintiffs cannot at this time establish (and have not even attempted to

establish) any of the four recognized exceptions to the record rule. MDL Plaintiffs have not

made a showing that the agency relied on substantial materials not included in the record, or that

the procedures used and factors considered by the Federal Defendants require further explanation

in order to provide effective review in the GRN Cases. MDL Plaintiffs cannot ask the Court to

make a determination that the not-yet-filed administrative records are not complete, thus

requiring an exploration of other evidence that may have been considered by the agencies.

Finally, MDL Plaintiffs have not made any showing of bad faith or improper behavior and the

circumstances do not show that discovery will provide the only possibility for effective judicial

review. The agency in these cases made contemporaneous administrative findings, and those

findings, along with their administrative records, will be lodged with this Court in due course.

The sufficiency of those records may be addressed at that time.

III.     Plaintiffs Did Not Intend that the United States Would Furnish Responses to the
         Omnibus Discovery Request.

         On November 10, 2010, counsel for Federal Defendants in GRN I and GRN II conferred


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with Plaintiffs’ Liaison Counsel regarding the protective order. In response, Plaintiffs’ Liaison

Counsel confirmed “that it was not Plaintiff Liaison Counsel’s intention, in drafting and serving

the Initial Omnibus Discovery Requests, that responses to such requests would be furnished by

any officers or agents of the United States.” See Nov. 11, 2010, E-mail from Steve Herman

(attached as Ex. A). For this reason alone, Federal Defendants’ motion for a protective order

with respect to the omnibus discovery request should be granted.

                                         CONCLUSION

       For the foregoing reasons, Federal Defendants respectfully request the Court issue a

protective order barring the applicability of discovery requests in the GRN Cases and limiting

judicial review to the administrative records to be filed with the Court in these matters.

Respectfully submitted this 15th day of November, 2010.


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                               CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Motion for Protective Order and
accompanying Memorandum in Support have been served on All Counsel by electronically
uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 12, and
that the foregoing was electronically filed with the Clerk of Court of the United States District
Court for the Eastern District of Louisiana by using the CM/ECF System, which will send a
notice of electronic filing in accordance with the procedures established in MDL 2179, on this
15th day of November, 2010.


                                                    /s/ Kristofor R. Swanson
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